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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
AT JACKSON

DAVlD LUGO,
Plaintiff,
Case No.: l:02-1282-Bre/P

V.

CORRECTIONS CORPORATION
OF AMERICA, et al..,

Defendants.

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AGREED ORDER OF DISMISSAL WITH PREJUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, with full prejudice, the
Court therefore finds that this cause should be dismissed, with full prejudice and,
accordingly:

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this
cause be, and the same is hereby, dismissed against the Defendants, Corrections
Corporation of America, Doctor Crants, Prison Realty Trust, lnc., Correctional
l\/Ianagement Services Corporation, Prison Realty Managernent, lnc,, and Prison
Management Services, Inc., With prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, ADJUDGED AND DECREED that costs of this cause,
including filing fees, will be paid by Plaintil`f and no discretionary costs, bill of cost,
expenses or any attorney fees, either by statute or contract, will be applied for or awarded by

either party.

Thls document entered on the docket sheet 1a compliance
with Hu|e 58 and,'or_?§ (a) FHCP on

Case 1:02-cV-01282-.]DB-tmp Document 36 Filed 07/01/05 Page 2 of 4 Page|D 60

Dated: this ___day of ,.2005

dana

J. I)ANIEL BREEN
GD sTATEs I)ISTRICT JUI_)GE

 

APPROVED FOR ENTRY:

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CERTIFICATE OF SERVICE

1 certify that a copy ofthe foregoing has been served by U.S. mail upon Wayne
A. Ritchie, ll and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, SC 29201 on June land 2005.

PENTECOST, GLENN & RUDD, PLLC

By; %/(WMW O.?é{é/AW

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 1:02-CV-01282 was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

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Honorable .1. Breen
US DISTRICT COURT

